                                           Case 3:19-cv-04607-RS Document 174 Filed 11/10/21 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    STAY FROSTY ENTERPRISES LLC,                         Case No. 19-cv-04607-RS
                                                       Plaintiff,
                                   8
                                                                                             STANDBY ORDER OF DISMISSAL
                                                v.
                                   9

                                  10    TEESPRING, INC.,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has been informed that the above-entitled action has settled. Accordingly, the

                                  14   Court vacates all pretrial and trial dates. The parties are required to file a stipulation of dismissal

                                  15   by January 13, 2022. If a stipulation of dismissal is not filed by that date, the parties are ordered

                                  16   to appear on January 22, 2022, at 1:30 p.m. in Courtroom 3, 17th Floor of the San Francisco

                                  17   Courthouse and show cause why the case should not be dismissed. Failure to comply with this

                                  18   Order may result in dismissal of the case.

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                                  20          IT IS SO ORDERED.

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                                  22   Dated: November 10, 2021

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                                                                                          Richard Seeborg
                                  25                                                      Chief United States District Judge

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